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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

Nelson L. Bruce,                              ) Civil Action No. 2:21-CV-00895-BHH-MGB
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )
                                              )
T-Mobile USA, Inc., et al.,                   )
                                              )
               Defendants.                    )
                                              )

     NOTICE OF REQUEST FOR PROTECTION FROM COURT APPEARANCE

       Pursuant to Local Rule 6.02 of the Federal Rules of Civil Procedure, the undersigned

attorney, M. Claire Flowers, hereby requests protection from court appearance for the following

dates due to her wedding and personal vacation:

                                October 17, 2022 - October 31, 2022

       The protection from court appearance is not being designated for the purpose of delaying,

hindering or interfering with the timely disposition of any matter in any pending action or

proceeding. There is not an action or proceeding in which the undersigned attorney has entered

an appearance which has been scheduled or noticed for trial, hearing, deposition, or other

proceeding during the requested period.

                                             Respectfully submitted,

                                             s/ M. Claire Flowers
                                             M. Claire Flowers (Fed. ID No. 13411)
                                             claire.flowers@klgates.com
                                             K&L GATES LLP
                                             134 Meeting Street, Suite 500
                                             Charleston, SC 29401
                                             Phone: 843.579.5600
                                             Fax: 843.579.5601

September 26, 2022                           ATTORNEYS FOR DEFENDANT T-MOBILE
Charleston, South Carolina                   USA, INC.
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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Nelson L. Bruce,                             ) Civil Action No. 2:21-CV-00895-BHH-MGB
                                             )
              Plaintiff,                     )
                                             )
       v.                                    )
                                             )       CERTIFICATE OF SERVICE
T-Mobile USA, Inc. et al.,                   )
                                             )
              Defendants.                    )
                                             )

       I hereby certify that a copy of NOTICE OF REQUEST FOR PROTECTION FROM

COURT APPEARANCE has been served upon Plaintiff by mailing a copy of the same to him,

postage prepaid, in the United States Mail, to the address as shown below, on the 26th day of

September 2022:


                             Nelson L. Bruce
                             144 Pavilion Street
                             Summerville, SC 29483




                                              s/ M. Claire Flowers
                                              M. Claire Flowers (Fed. ID No. 13411)
                                              claire.flowers@klgates.com
                                              K&L GATES LLP
                                              134 Meeting Street, Suite 500
                                              Charleston, SC 29401
                                              Phone: 843.579.5600
                                              Fax: 843.579.5601




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